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 9

10                               IN THE UNITED STATES DISTRICT COURT
11                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13

14    UNITED STATES OF AMERICA,                        Case No.: CR 19–00536 VC

15                  Plaintiff,                         DEFENDANT’S SENTENCING
                                                       MEMORANDUM AND MOTION FOR
16           v.                                        DOWNWARD VARIANCE
17    DELMAR ROSALES-AVILA,                            Court:             Courtroom 4, 17th Floor
18                  Defendant.                         Hearing Date:      April 29, 2020
                                                       Hearing Time:      1:00 p.m.
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     DEFENDANT'S SENTENCING MEMORANDUM AND MOTION FOR DOWNWARD VARIANCE
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 1                                            INTRODUCTION
 2          In October 2019, Mr. Rosales-Avila was arrested by San Francisco Police Department
 3   (“SFPD”) and found in possession of small, hand to hand sale quantities of fentanyl. He was 21
 4   years old at the time of his arrest. He currently sits in the Santa Rita jail during a global pandemic,
 5   hoping he will not get sick, although the odds are stacked against him. He will be automatically
 6   deported to Honduras after he serves his sentence.
 7          Mr. Rosales-Avila asks this Court to exercise its authority to vary from the Guideline range
 8   and impose a time served sentence of approximately 193 days. Such a sentence is consistent with
 9   other sentences handed down in recent hand to hand, Tenderloin drug sale cases in the District, and
10   mitigates the health risks caused by COVID-19 by removing Mr. Rosales-Avila from what is likely
11   the most dangerous place to be during a pandemic—a jail—and reducing the jail population to ensure
12   others in the jail and the community outside do not get sick.
13                                        STATEMENT OF FACTS
14   A.    Mr. Rosales-Avila’s History and Characteristics.
15         Mr. Rosales-Avila was born in Francisco Morazan, Honduras, in 1997. Presentence
16   Investigation Report (“PSR”) ¶ 35. His family was poor and lived in various farms where his father
17   worked. PSR ¶ 36. His father struggled to put food on the table, and was physically abusive to Mr.
18   Rosales-Avila, his siblings, and their mother. PSR ¶ 37. Gang violence was a constant threat. Id.
19   He only made it to the 6th grade before dropping out of school. PSR ¶ 46.
20         He came to the United States when he was 16 years old and has been on his own since. PSR ¶
21   38. He bounced around from Texas, to Florida, then Washington, before settling in the Bay Area.
22   PSR ¶ 38. With little education and no work skills, Mr. Rosales-Avila turned to selling drugs to
23   make ends meet. In 2018, he was convicted of misdemeanor accessory and sentenced to probation
24   and 4 days of jail. PSR ¶ 25. The next year, he received his first and only felony conviction before
25   this case for again being an accessory, and received a 90 day jail sentence, serving only half of that
26   time in jail. PSR ¶ 26.
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 1   B.      The Nature and Circumstances of the Offense and Court Proceedings.
 2           Mr. Rosales-Avila’s case is one of many cases brought as part of the federal government’s
 3   “Federal Initiative for the Tenderloin,” which has resulted in a surge of street level drug dealing
 4   prosecutions in federal court. On September 11, 2019, SFPD officers recognized Mr. Rosales-Avila
 5   from prior contacts and arrested him. PSR ¶¶ 6-7. A bag he threw while trying to run away was
 6   searched, and small amounts of fentanyl seized. PSR ¶ 8. The federal indictment was filed on
 7   October 17, 2019. PSR ¶ 1. Mr. Rosales-Avila was initially charged in state court; he made his
 8   initial federal appearance on November 1, 2019. He has been detained since his arrest by SFPD. PSR
 9   ¶ 4. He pleaded guilty with a plea agreement on January 7, 2020. PSR ¶¶ 2, 3.
10   C.      Mr. Rosales-Avila’s Future Rehabilitation Goals and Plans.
11           Today, Mr. Rosales-Avila is 22 years old and sitting in jail during a global pandemic. He will
12   be deported to Honduras once he is released. He will receive no services or rehabilitation while at
13   Santa Rita jail and his primary focus is on staying healthy and not contacting COVID-19 behind bars
14   until he returns to Honduras. Once he gets there, he hopes to stay healthy, find work, and avoid gang
15   violence.
16                                       SENTENCING ARGUMENT
17           Criminal “punishment should fit the offender and not merely the crime.” Williams v. New
18   York, 337 U.S. 241, 247 (1949). That requires “the sentencing judge to consider every convicted
19   person as an individual and every case as a unique study in the human failings that sometimes
20   mitigate, sometimes magnify, the crime and the punishment to ensue.” Gall, 552 U.S. at 52
21   (quotations omitted). The factors detailed in 18 U.S.C. § 3553(a) assist the Court in fulfilling this
22   mandate to make “an individualized assessment of a particular defendant’s culpability rather than a
23   mechanistic application of a given sentence to a given category of crime.” United States v. Barker,
24   771 F.2d 1362, 1365 (9th Cir. 1985). The sentence recommended in the Sentencing Guidelines is
25   only one factor for district courts to consider in making this judgment, and it may not be weighed
26   more heavily than any other § 3553(a) factor. Gall, 552 U.S. at 50; see also Carty, 520 F.3d at 991.
27           Here, Mr. Rosales-Avila asks this Court to impose a time served sentence of approximately 193
28   days.
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 1   A.    Seriousness of the Offense, Respect for the Law and Just Punishment.
 2         There is no question that selling drugs is a serious crime that harms society and must be

 3   punished. At the same time, the Supreme Court has warned “a sentence of imprisonment may work

 4   to promote not respect, but derision, of the law if the law is viewed as merely a means to dispense

 5   harsh punishment without taking into account the real conduct and circumstances involved in

 6   sentencing.” Gall, 552 U.S. at 54 (quotations omitted).

 7         A time served sentence of approximately 193 days is a harsh punishment that takes “into

 8   account the real conduct and circumstances” here. It is more than twice as long as all of Mr. Rosales-

 9   Avila’s prior jail sentences combined. See PSR ¶ 25 (4 day jail sentence in 2018); ¶ 26 (90 day jail

10   sentence in 2019). It accounts for the fact that Mr. Rosales-Avila is a street level dealer and ensures

11   he is not punished for possessing a firearm or using or threatening violence, which are factors not

12   present in his case.

13         Moreover, there is a serious risk that due to the COVID-19 pandemic, Mr. Rosales-Avila could

14   face an effective death sentence. Even in the best of times, prisons and jails have “long been known

15   to be associated with high transmission probabilities of infectious diseases.”1 Incarcerated individuals

16   “are at special risk of infection” and “infection control is challenging.”2 Prisons and jails “contain
17   high concentrations of people in close proximity and are breeding grounds for uncontrolled
18   transmission [of infection].”3 Incarcerated individuals share bathrooms, sinks, and showers. They eat
19

20
     1
       Letter from Patricia Davidson, Dean, Johns Hopkins School of Nursing, et al., to Hon. Larry Hogan,
21   Governor of Maryland, Mar. 25, 2020, available at https://bioethics.jhu.edu/wp-
     content/uploads/2019/10/Johns-Hopkins-faculty-letter-on-COVID-19-jails-and-prisons.pdf (co-
22   signed by over 200 faculty members of Johns Hopkins Bloomberg School of Public Heath, School of
     Nursing, and School of Medicine).
23   2
       Open Letter from Gregg S. Gonsalves, Assistant Professor, Department of Epidemiology of
     Microbial Diseases, Yale School of Public Health, et al. to Vice President Mike Pence and Other
24   Federal, State and Local Leaders, Mar. 2, 2020, available at
     https://law.yale.edu/sites/default/files/area/center/ghjp/documents/final_covid-
25   19_letter_from_public_health_and_legal_experts.pdf (co-signed by 814 experts in public health, law
26   and human rights).
     3
       Letter from Dr. Sandro Galea, Dean, Boston University School of Public Health, et al., to President
27   Trump, Mar. 27, 2020, available at https://thejusticecollaborative.com/wp-
     content/uploads/2020/03/Public-Health-Expert-Letter-to-Trump.pdf (co-signed by numerous public
28   health officials from leading medical and public health institutions).
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 1   together, and sleep in close proximity to each other. They often lack access to basic hygiene items,
 2   much less the ability to regularly disinfect their living quarters. “The conditions and reality of
 3   incarceration makes prisons and jails tinderboxes for the spread of disease.”4 In short, “our jails are
 4   petri dishes.”5
 5         But this is not the best of times. COVID-19 has already made it into the Santa Rita jail, where
 6   Mr. Rosales-Avila is currently housed. The Alameda County Sheriff reports that 33 inmates and two
 7   staff have tested positive in the jail.6 The BOP has reported that 566 inmates and 342 staff at 47
 8   prions and 16 residential reentry centers have tested positive, and 24 inmates have died.7 While Mr.
 9   Rosales-Avila knows he must be punished for his mistake, that punishment should not include the
10   heightened possibility of catching a life threatening illness.
11   B.    Deterring Criminal Conduct and Protecting the Public.
12         Mr. Rosales-Avila acknowledges the Court may be concerned that prior arrests, convictions
13   and stay away orders have not stopped him from returning to the Tenderloin to sell drugs.
14         But this time is different. Presumably the entire point of prosecuting Mr. Rosales-Avila in
15   federal court instead of state court is to extract a longer custodial sentence and ensure he is deported
16   after completing that sentence. The former has been accomplished; the latter is a foregone
17   conclusion.8 Thus, when Mr. Rosales-Avila is released, he will not be released onto the street and
18
     4
19     Kimberly Kindy, “An Explosion of Coronavirus Cases Cripples Federal Prison in Louisiana,”
     Washington Post, Mar. 29, 2020, available at https://www.washingtonpost.com/national/an-
     explosion-of-coronavirus-cases-cripples-a-federal-prison-in-louisiana/2020/03/29/75a465c0-71d5-
20   11ea-85cb-8670579b863d_story.html.
     5
21     Timothy Williams et al., “‘Jails Are Petri Dishes’: Inmates Freed as the Virus Spreads Behind
     Bars,” New York Times, Mar. 30, 2020, available at
22   https://www.nytimes.com/2020/03/30/us/coronavirus-prisons-jails.html.
     6
       See https://www.alamedacountysheriff.org/admin_covid19.php.
23
     7
       See https://www.bop.gov/coronavirus/.
24   8
       Mr. Rosales-Avila’s conviction under § 841 is a categorical “aggravated felony” under immigration
     law and he will be ineligible for any relief from deportation. See 8 U.S.C. § 1101(a)(43)(B) (defining
25   “aggravated felony” in part as “illicit trafficking in a controlled substance (as defined in [21 U.S.C. §
     802]), including a drug trafficking crime (as defined in [18 U.S.C. § 924(c)])”); see also United
26   States v. Alvarado-Pineda, 774 F.3d 1198, 1201 (9th Cir. 2014) (“noncitizens convicted of
     aggravated felonies are removable on that basis…and are ineligible for almost all forms of
27   discretionary relief.”) (citations omitted). If he decides to illegally return to the United States, he can
     be prosecuted for illegal reentry after removal under 8 U.S.C. § 1326, and subject to a harsher
28   statutory penalty. See 8 U.S.C. § 1326(b)(2) (statutory maximum of 20 years for illegal reentry
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 1   potentially the Tenderloin. Instead, he will be sent to Honduras.
 2         Given the worldwide travel restrictions imposed as a result of COVID-19, the safest and
 3   healthiest course for Mr. Rosales-Avila is to remain in Honduras—which as of this filing has 510
 4   confirmed coronavirus cases9—rather than risk returning to the United States which has the most
 5   coronavirus cases and deaths of any country in the world. His ability to travel will be severely
 6   restricted as countries impose strict lockdowns to prevent the virus from spreading.
 7         As for protecting the public, the current COVID-19 pandemic supports the immediate release
 8   of Mr. Rosales-Avila. Reducing the prison population not only serves to protect inmates by reducing
 9   the number of people potentially exposed, but it also serves to protect to other individuals who come
10   into contact with inmates such as jail staff.
11   C.    Providing Training, Medical Care or Other Treatment.
12         “The underlying purposes of sentencing include not only punishment and deterrence, but also
13   the provision of treatment to a defendant in need of it.” United States v. Bad Marriage, 392 F.3d
14   1103, 1114 (9th Cir. 2004) (citing 18 U.S.C. § 3553(a)(2)(D)). As explained above, the best way to
15   provide treatment for Mr. Rosales-Avila is to release him from Santa Rita jail as soon as possible so
16   he can avoid exposure to COVID-19 himself, and not spread the disease to others.
17         Moreover, the unfortunate reality is that with jails on lockdown to prevent the spread of
18   COVID-19, Mr. Rosales-Avila is not receiving any treatment services at all while in Santa Rita. In
19   any event, Congress has cautioned courts to recognize that “imprisonment is not an appropriate
20   means of promoting correction and rehabilitation.” 18 U.S.C. § 3582(a). Indeed, the Supreme Court
21   has explained a district court cannot increase the length of a sentence in order to provide a defendant
22   with rehabilitative services, and a court determining the length of a prison sentence “should consider
23   the specified rationales of punishment except for rehabilitation, which it should acknowledge as an
24   unsuitable justification for a prison term.” Tapia v. United States, 564 U.S. 319, 327 (2011)
25   (emphasis in original). Thus, a time served sentence is the appropriate sentence to promote treatment
26
     defendant with a prior “aggravated felony”).
27
     9
      See Johns Hopkins Coronavirus COVID-19 Global Cases, available at
28   https://coronavirus.jhu.edu/map.html.
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 1   and medical care.
 2   D.    The Guidelines Sentencing Range and Commission Policy Statements.
 3         Mr. Rosales-Avila agrees with the advisory Guideline range calculated in the PSR and plea
 4   agreement. Mr. Rosales-Avila is accountable for between 1 and 2 grams of fentanyl analogue, which
 5   generates a base offense level of 14 under U.S.S.G. § 2D1.1(c)(13). PSR ¶ 14. He receives a two
 6   level reduction for accepting responsibility under U.S.S.G. § 3E1.1(a). PSR ¶ 21. Thus, the adjusted
 7   offense level is 12. At a criminal history category of III, the resulting Guideline range is between 15
 8   and 21 months in custody. PSR ¶ 53.
 9   E.    Avoiding Unwarranted Sentencing Disparities.
10         While the Court must avoid unwarranted sentencing disparities among defendants with similar
11   records convicted of similar conduct, the Ninth Circuit has explained sentencing courts must also
12   “avoid ‘unwarranted similarities among [defendants] who were not similarly situated.’” United
13   States v. Amezcua-Vasquez, 567 F.3d 1050, 1058 (9th Cir. 2009) (quoting Gall, 552 U.S. at 55
14   (emphasis and brackets in original)); see also 18 U.S.C. § 3553(a)(6).
15         A time served sentence of approximately 193 days avoids unwarranted similarities with
16   defendants who are higher up the drug distribution chain, are armed or use threats of violence while
17   selling drugs. A time served sentence would avoid unwarranted disparity with other defendants
18   sentenced for hand to hand drug dealing in the Tenderloin. Numerous defendants have received
19   significant sentencing variances, including time served sentences, even before the COVID-19
20   pandemic. The current public health crisis only heightens the urgency and propriety of releasing Mr.
21   Rosales-Avila from prison immediately.
22
      Name                   Case No.      Drug                Sale   CHC   USSG    Sentence   Priors
23                                                             Amt.         Range
      Wilson Acosta-Valle    19-560-VC     Crack, heroin              II    8-14    111 days   Federal drug case
24
      Santos Aguilar         19-454-VC     Heroin, meth        $20    II    15-21   152 days   Illegal reentry
25    Brayan Arteaga         19-426-WHO    Crack               $16    II    8-14    37 days
      Wilfredo Cabrera       19-452-WHO    Heroin              $17    II    8-14    132 days   4 year drug
26                                                                                             sentence; 6
                                                                                               deports
27    Welbur Cardona-        19-541-WHO    Heroin, crack       $20    III   24-30   12         2 illegal entries
      Navarro                                                                       months +
28
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 1                                                                                      1 day
      Yerlyn Cruz-Ortiz         19-453-SI    Crack                $16   V      21-27    15 mo       On supervised
 2                                                                                                  release for illegal
                                                                                                    reentry
 3
      Ronny Dixson              19-527-WHO   Heroin                     III    18-24    12          8 drug felonies,
 4                                                                                      months +    including sales
                                                                                        1 day
 5    Jesus Flores              19-429-SI    Cocaine,             $15   I      10-16    118 days    2 deports
                                             heroin, meth
 6    Ismael Martinez           19-650-RS    Crack, meth                I      0-6      48 days
      David Medina-Guerrero     20-26-RS     Crack                $20   III    10-16    83 days
 7    Pedro Muncia              19-428-CRB   Heroin, crack,       $20   II     8-14     126 days    Federal drug case,
                                             meth                                                   deport
 8
      Jose Ramos-Varela         19-713-EMC   Meth                 $20   I      10-16    57 days
 9    Anival Ramos-             19-503-EMC   Heroin, crack        $20   I      6-12     111 days
      Velasquez
10    Aaron Servellon           19-689-RS    Crack, heroin,       $25   I      12-18    102 days
                                             meth, fentanyl
11    Ristir Trejo              19-535-RS    Fentanyl,            $20   II     21-27    140 days
                                             crack, heroin
12
      Luis Vargas-Valle         19-386-RS    Crack                $21   II     8-14     6 months    32 month illegal
13                                                                                                  reentry sentence
      Kelier Velasquez-Jossel   19-483-EMC   Crack                $16   I      6-12     125 days
14    Marco Velasquez-          19-456-WHO   Crack                $17   I      6-12     120 days
      Trinidad
15    Corey Wyatt               19-396-RS    Alprazolam           $20   VI     6-12     99 days     Involuntary
                                                                                                    manslaughter,
16                                                                                                  assault with
                                                                                                    deadly weapon
17

18                                                CONCLUSION

19         For the reasons above, Mr. Rosales-Avila asks this Court to sentence him to time served of

20   approximately 193 days.

21

22    Dated:         April 22, 2020                               Respectfully submitted,

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25
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